Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 1 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 2 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 3 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 4 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 5 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 6 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 7 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 8 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 9 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 10 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 11 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 12 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 13 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 14 of 15
Case 2:19-cv-00055-JHS Document 1 Filed 01/04/19 Page 15 of 15
